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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


U.S.A. Dawgs, Inc., et al                               JUDGMENT FOR ATTORNEYS'
                                                        FEES IN A CIVIL
                                                       JUDGMENT         CASECASE
                                                                  IN A CIVIL
                                Plaintiffs,
         v.                                            Case Number: 2:16-cv-01694-JCM-PAL
Crocs, Inc., et al


                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that Judgment is entered in the amount of $12,219.01 in attorneys' fees in favor of Crocs, Inc., to be paid
jointly and severally by U.S.A. Dawgs, Inc. and Double Diamond Distribution, Ltd.




         2/11/2019
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ S. Denson
                                                             Deputy Clerk
